 

dQX\/\ Case 1:05-cv-01153-.]|I@T©0Pc§? Filed 07/06/05 Page 1 of 2 Page|D 1

HEL " i_L_ l § 1 V~ ram
IN THE UNITED STATES DISTRICT COURT FUR
THE WESTERN DISTRICT OF TENNESS

 

 
 

 

 

 

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HoLLY MooRE, CT§~[E:*' 1§ § 1019
on behalf of herself and all others similarly wm »~\§f §_ .' \" ST_ el
situated, Judge Todd
Magistrate-Judge Anderson
Plaintii`fs, g j
v. Case N0.: OS-CV-l 153 § §§
l »':.;
THE GILLETTE CoMPANY, '~'”‘ §/
TJ':
Defendant. n ‘ 143 _
[~PROPQSEB] ORI)ER GRANTING MOTION TO EXTEND TIME TU MOVE3

ANSWER, OR OTHERWISE RESPOND TO AMENDED COMPLAINT AND TO
RESPOND TO MOTION TO ENJOIN

 

lhls matter came before the Court on the motion of Defendant The Gillette Company
(“Gillette ) for an extension of time Within Which to move, answer or otherwise respond to
PlalntlfF s Arnended Complaint and to respond to Plaintist i\/[otion to Enjoin Subsequently
Flled Duphcale Action. The Court finds that Gillette’S Motion is Well taken and good cause

appearing is GRANTED. Accordingly, it is hereby

ORDERED that Defendant Gillette shall have an extension of time through and
mcludlng August 15 2005, Within Which to move, answer, or otherwise respond to Plalntlft`s

Arnended Compialnt and to respond to Plaintiff’s Motion to Enjoin Subsequentiy Frled Dupllcate
Action.

Daied; %_ br 2005 §r'/%/H @L.J

U.S. MAGISTRATE-JUDGE
S. THOMAS ANDERSON

] 124349_1 This document entered on the docket sheet In compliance

with Fiu|e 58 and,'or_79 (a) FRCP on fl

 

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This notice confirms a copy of the document docketed as number 9 in
case 1:05-CV-01153 Was distributed by faX, mail, or direct printing on
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J on A. York

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Honorable J ames Todd
US DISTRICT COURT

